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   7 RIVERSIDE, and SGT. SHEREE
     ANTHONY
   8
                          UNITED STATES DISTRICT COURT
   9
                        CENTRAL DISTRICT OF CALIFORNIA
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  11
       SYBIL DAVIS,                                                             Case No. 5:16-CV-00227-JGB(KKx)
  12                                                                            [The Hon. District Judge, Jesus G.
                         Plaintiff,                                             Bernal, Magistrate, Kenly Kiya Kato]
  13
                 v.                                                             DEFENDANTS' AMENDED
  14                                                                            PROPOSED VERDICT FORM
       THE COUNTY OF RIVERSIDE, et al.                                          PHASE 2
  15
                         Defendants.
  16
  17
  18                                                                            Complaint Filed: 06-22-16
                                                                                Final PTC:       10-29-18
  19                                                                            Trial:           11-13-18
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   1             Defendants COUNTY OF RIVERSIDE and SGT. SHEREE ANTHONY
   2 hereby submit the following Amended Proposed Verdict Form phase 2 and object to
   3 plaintiff's proposed Verdict Form phase 2.
   4             Defendants reserve the right to amend this Verdict Form.
   5 DATED: November 28, 2018                                             MANNING & KASS
                                                                          ELLROD, RAMIREZ, TRESTER LLP
   6
   7                                                                      B
                                                                          y
   8                                                                      :     /s/ Angela M. Powell
   9                                                                      Angela M. Powell
                                                                          Attorneys for Defendants, COUNTY OF
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                                                                          RIVERSIDE, and SGT. SHEREE
  11                                                                      ANTHONY
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   1                                                        VERDICT FORM
   2             We, the jury, being first empaneled and sworn, do find our verdict as follows:
   3
   4              Having found Sgt. Sheree Anthony’s conduct to be malicious, oppressive or
   5 in reckless disregard of Anthonie Smith’s rights, what amount of punitive damages,
   6 if any, do you award plaintiff Sybil Davis as a result of Sgt. Anthony’s conduct?
   7 $_____
   8
   9
  10
  11 Please date, sign, and return this Verdict Form to the Court Clerk.
  12
  13             I hereby certify that this verdict is unanimous.
  14
  15 Dated: _____________________, 2018
  16
  17
  18 Signed: ________________________________
  19                        Presiding Juror (Foreperson)
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